   Case 18-16792-ref       Doc 11-3 Filed 12/14/18 Entered 12/14/18 13:56:43                   Desc
                              Certificate of Service Page 1 of 1
                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 IN RE:
 ELINETTE VALENTIN                                                BK. No. 18-16792 REF
                                                           :
 VICTOR VELEZ, SR (Non-Filing Co-Debtor)
                                                           :
                           Debtors                                Chapter No. 13
                                                           :
                                                           :
 U.S. BANK NATIONAL ASSOCIATION, AS
                                                           :
 TRUSTEE FOR STRUCTURED ASSET
                                                           :
 INVESTMENT LOAN TRUST MORTGAGE PASS-
                                                           :
 THROUGH CERTIFICATES, SERIES 2006-3
                                                           :
                           Movant
                                                           :
                   v.
                                                           :
 ELINETTE VALENTIN
                                                           :
 VICTOR VELEZ, SR (Non-Filing Co-Debtor)
                                                           :
                           Respondents


                                    CERTIFICATE OF SERVICE

I hereby certify that service upon all interested parties, indicated below was made by sending a true and
correct copy of the Objection of U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR
STRUCTURED ASSET INVESTMENT LOAN TRUST MORTGAGE PASS-THROUGH
CERTIFICATES, SERIES 2006-3, to Debtor's Chapter 13 Plan pursuant to the above-captioned
bankruptcy case by electronic means on December 14, 2018.

  WILLIAM MILLER*R, ESQUIRE (TRUSTEE)                     ELINETTE VALENTIN
  2901 ST. LAWRENCE AVENUE, SUITE 100                     913 SOUTH 10TH STREET
  READING, PA 19606                                       ALLENTOWN, PA 18103-3105

  BRAD J. SADEK, ESQUIRE                                  VICTOR VELEZ, SR
  1315 WALNUT STREET, SUITE 502                           913 SOUTH 10TH STREET
  PHILADELPHIA, PA 19107                                  ALLENTOWN, PA 18103-3105

  UNITED STATES TRUSTEE
  OFFICE OF THE U.S. TRUSTEE
  833 CHESTNUT STREET
  SUITE 500
  PHILADELPHIA, PA 19107

                                                       Respectfully submitted,


                                                          /s/ Mario J. Hanyon, Esquire
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